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                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Oct 05, 2018
                                      Form ID: pdf004                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 07, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
               +Florida Bar,   651 E Jefferson St,   Tallahassee, FL 32399-2300
               +Honorable Alexander Bokor,   County Court Judge,   73 West Flagler St,   Miami, FL 33130-1731

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 07, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 5, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
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           ORDERED in the Southern District of Florida on October 4, 2018.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No.: 18-15825-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtors.
          ____________________________________/

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN AND
                        $1'5($+2//$1'¶6027ION FOR SANCTIONS UNDER
                             BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court for an evidentiary hearing on September 28, 2018

          upon Creditors, Brian Holland and Andrea Holland¶V ³Landlord´ 0RWLRQIRU6DQFWLRQVXQGHU

          Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF No. 25].

                                                INTRODUCTION

                   On May 30, 2018, Landlord filed a Motion for Sanctions under Bankruptcy Rule 9011 and

          11 U.S.C. § 105 DJDLQVW 'HEWRU 1XELD 0DUFHOOD 3HUH] ³Debtor´  DQG KHU FRXQVHO 7KRPDV




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      1HXVRP ³Neusom´)1 alleging that Debtor and Neusom filed a bankruptcy petition in bad faith for

      the sole purpose of staying a state court eviction action brought by Landlord against A Plus

      Lamination and Finishing, Inc. At trial, the Landlord presented no evidence regarding actions

      WDNHQE\WKH'HEWRUEXWLWGLGSUHVHQWHYLGHQFHWKDW'HEWRU¶VDWWRUQH\1HXVRPIDOVHO\DGYLVHG

      /DQGORUG¶VPDQDJHUDQG/DQGORUG¶VVWDWHFRXUWDWWRUQH\WKDW he had filed a bankruptcy petition on

      behalf of A Plus Lamination and Finishing, Inc., the defendant in the Florida county court eviction

      action. 7KH&RXUWKDYLQJFRQVLGHUHGWKHGRFXPHQWDU\HYLGHQFHZLWQHVVWHVWLPRQ\DQGFRXQVHO¶V

      arguments, enters its findings of fact and conclusions of law as follows:

                                           FINDINGS OF FACT

             1.      Debtor is an individual, and a principal and (apparently) the sole owner of A Plus

      Lamination and Finishing, Inc. Ex. 19.2

             2.      A Plus Lamination and Finishing, Inc. is an active Florida Corporation, which

      entered a one-\HDUFRPPHUFLDOOHDVH ³Lease´ ZLWK/DQGORUGWRUHQWSURSHUW\ORFDWHGDW1:

      WK$YHQXH0LDPL)ORULGD ³Property´  Ex. 21.

             3.      7KH /HDVH¶V RQH-year term ran from August 1, 2017 to July 31, 2018. A Plus

      Lamination and Finishing, Inc. agreed to pay $8,666.67 in monthly rent plus sales tax and fees to

      lease the Property. Id.

             4.      A Plus Lamination and Finishing, Inc. defaulted on the Lease by failing to make

      the March 1, 2018 rent payment and subsequent payments. Ex. 1.




      1
             NeusRP¶VFlorida Bar number is 37148.
      2
             All referenced exhibits were admitted into evidence during the evidentiary hearing.
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             5.       On April 13, 2018, Landlord initiated an eviction action against A Plus Lamination

      and Finishing, Inc. in the County Court in and for Miami-Dade County, Case No. 2018-008187-

      CC- ³Eviction Action´ 

             6.      On May 10, 2018, Judge Alexander Bokor ordered A Plus Lamination and

      Finishing, Inc. WRGHSRVLWUHQWLQWRWKHFRXUWUHJLVWU\ ³Deposit Order´  Ex. 6.

             7.      The Deposit Order required A Plus Lamination and Finishing, Inc. (1) to deposit

      $9,000 by May 7, 2018; (2) to deposit $9,000 by May 14, 2018; and (3) to make timely deposits

      as additional rent became due. Under the Deposit Order, A Plus Lamination and Finishing, Inc.¶V

      failure to make timely deposits would FRQVWLWXWH³an absolute waiver of its defenses, other than

      payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final Judgment

      for Removal of A Plus Lamination and Finishing, Inc. and Writ of Possession to issue forthwith

      ZLWKRXWWKHQHFHVVLW\RIIXUWKHUKHDULQJSXUVXDQWWR6HFWLRQ)ORULGD6WDWXWHV´

             8.      Landlord and A Plus Lamination and Finishing, Inc. were also ordered to attend

      mediation on May 15, 2018 at 1:30 pm. Id.

             9.      A Plus Lamination and Finishing, Inc. failed to deposit into the court registry the

      $9,000 due on May 14, 2018, resulting in a waiver of defenses and entitling Landlord to immediate

      default final judgment and a writ of possession.

             10.      Neusom filed an Individual Chapter 11 bankruptcy petition (³3HWLWLRQ´ ZLWKWKLV

      Court on behalf of Nubia Perez on May 15, 2018, the day after A Plus Lamination and Finishing,

      Inc. failed to make the deposit required by the state court Deposit Order. D.E. 1. Neusom executed

      the Petition on page eleven as counsel for Nubia Perez. Id.

             11.     On page 2 of the Petition, Neusom alleged that Nubia Perez is a small business

      debtor that does business under the name ³A Plus Lamination and Finishing, Inc.´7KLVLVIDOVH



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      A Plus Lamination and Finishing, Inc., the tenant in the eviction action, is a duly registered Florida

      corporation. ,WLVQRWDWUDGHQDPHRUD³GRLQJEXVLQHVVDV´QDPHNo evidence was presented that

      would establish A Plus Lamination and Finishing, Inc. is registered as a fictitious name for Nubia

      Perez.3

                12.   Despite the fact that A Plus Lamination and Finishing, Inc. was not in bankruptcy,

      and just hours before the mediation was scheduled to proceed on May 15, 2018, Neusom called

      Desiree Lindsay ³Lindsay´ /DQGORUG¶VHPSOR\HH, and Joseph Colletti ³Colletti´ , /DQGORUG¶V

      Eviction Action counsel and advised them both that he filed a bankruptcy petition on behalf of A

      Plus Lamination and Finishing, Inc.

                13.   Neusom left a voice message for Lindsay advising her that he filed the Petition for

      A Plus Lamination and Finishing, Inc. Neusom also had two phone conversations with Colletti on

      May 15, 2018 where Neusom advised Colletti of A Plus Lamination and Finishing, Inc.¶V

      EDQNUXSWF\ILOLQJDQG1HXVRP¶VLQWHQWWRIile a suggestion of bankruptcy in the Eviction Action.

      He also asked Colletti for the Eviction Action case number on the second phone call.

                14.   Colletti having been orally advised by Attorney Neusom that A Plus Lamination

      and Finishing, Inc. filed a bankruptcy petition, he immediately filed a Notice of Cancellation of

      Mediation, stating, ³'HIHQGDQWKDVILOHGDSHWLWLRQIRUUHOLHIZLWKWKHEDQNUXSWF\FRXUW´([

                15.   Colletti¶VWHVWLPRQ\ZDVforthcoming, straight-forward, and credible. Colletti took

      contemporaneous handwritten notes during his conversations with Neusom. Ex. 25.




      3
             Neusom filed additional pleadings in this case where he styled the bankruptcy case with
      'HEWRU¶VQDPHDV³Nubia Marcella Perez DBA A Plus Lamination´7KLV&RXUWbelieves that
      Neusom intended to give the impression that A Plus Lamination and Finishing, Inc. was in
      bankruptcy. See D.E.s 19, 38, 39 and 50.
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               16.   On May 15, 2018, the state court entered an Order of Bankruptcy Stay and Closing

      Case. See Ex. 7.

               17.   During the June 20, 2018, 341 meeting of creditors, Neusom and the Debtor

      admitted that her bankruptcy petition was filed to stop the Eviction Action, an indicia of bad faith

      under Phoenix Piccadilly standards, In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir.1988):




      Ex.18.




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      Ex. 18 at 10:6-15.

             18.     On June 28, 2018, this Court dismissed this case with prejudice, granting (1)

      /DQGORUG¶VMotion to Dismiss the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the

      Court and for Relief from the Automatic Stay [D.E. 24], (2) 8QLWHG6WDWHV7UXVWHH¶V0RWLRQWR

      Dismiss or Convert the Case [D.E. 46], and 'HEWRU¶V0RWLon to Dismiss Bankruptcy [D.E. 49].

      D.E. 52.

             19.     On July 2, 2018, with no erroneously alleged automatic stay in place, Landlord filed

      a Motion for Entry of Default Final Judgment in the Eviction Action, and the state court issued a

      Writ of Possession on July 31, 2018. Exs. 11 and 17.

             20.     Although Landlord obtained a writ of possession on July 31, 2018, A Plus

      Lamination and Finishing, Inc. did not vacate the premises until August 22, 2018.

             21.     Lindsay testified that Landlord had a tenant who wished to rent the Property on

      August 1, 2018, but because A Plus Lamination and Finishing, Inc. was still in the Property, the

      new tenant could not take possession. Landlord was forced to postpone the lease with the new

      tenant by one month, with the new lease commencing September 1, 2018. Ex. 24. Consequently,

      Landlord lost one month of rent under the new lease at $9,256.00.

             22.     As a result RI'HEWRUDQG1HXVRP¶VILOLQJRIWKH3HWLWLRQDQG1HXVRP¶VIUDXGXOHQW

      representations of an alleged stay of the Eviction Action, Landlord hired the law firm of Meland

      Russin and Budwick3$ ³MRB´ to represent it in the bankruptcy case and MRB has incurred

      $40,768.33 in legal fees. Ex. 22.

             23.     05%¶V IHHV LQFOXGH DPRQJ other things, time for attending a 341 meeting of

      creditors; researching and drafting a Motion to Dismiss the Bankruptcy Petition for Bad Faith and

      Fraud on the Court; researching and drafting a Motion for Sanctions against Debtor and Neusom;


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      preparing for and attending a hearing on the Motion to Dismiss; preparing for and attending

      multiple hearings related to the Motion for Sanctions, which was continued twice at the request of

      Attorney Neusom; witness and exhibit preparation; numerous communications with Neusom,

      including settlement discussions and the preparation of an unexecuted settlement agreement. MRB

      also attended the three and one half hour evidentiary hearing on the Motion for Sanctions on

      Friday, September 28, 2018.

             24.        Colletti testified that he, too, filed additional motions and attended additional

      hearings in the Eviction Action that would not have been necessary had Neusom not

      misrepresented a bankruptcy stay was in effect. Colletti advised the state court of the dismissal of

      this case and resumed the Eviction Action. Ex. 14. Landlord paid Colletti an additional $2,000 in

      DWWRUQH\¶VIHHVto complete the eviction and obtain the writ of possession, which had been delayed

      E\1HXVRP¶VIDOVHVWDWHPHQWV.

             25.        Neusom argued that Colletti should have independently researched whether the

      Petition was properly filed in the name of A Plus Lamination and Finishing, Inc., rather than rely

      RQ1HXVRP¶VUHSUHVHQWDWLRQVWKDW$3OXV/DPLQDWLRQ and Finishing, Inc. filed bankruptcy.

             26.        Landlord presented the testimony of two credible witnesses, both of whom testified

      that Neusom told them he filed a bankruptcy petition on behalf of A Plus Lamination and

      Finishing, Inc.

             27.        Respondent rested without testifying or presenting any witnesses.

                                           CONCLUSIONS OF LAW

             Landlord seeks sanctions against Debtor and Neusom under Bankruptcy Rule 9011 and 11

      U.S.C. § 105. Bankruptcy Rule 9011 states:




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                     By presenting to the court (whether by signing, filing, submitting, or later
                     advocating) a petition, pleading, written motion, or other paper, an attorney
                     or unrepresented party is certifying that to the best of the person's
                     knowledge, information, and belief, formed after an inquiry reasonable
                     under the circumstances,

                     (1)     it is not being presented for any improper purpose, such as to
                      harass or to cause unnecessary delay or needless increase in the cost of
                      litigation;


      (emphasis added). A sanction under this rule should deter repetition of misconduct. Sanctions may

      include non-monetary directives, as well as reimbursement of DWWRUQH\¶VIHHV and other expenses.

             7KH&RXUWILQGV1HXVRP¶Vargument, that Colletti had a duty to investigate the validity of

      1HXVRP¶V lie about A Plus Lamination and Finishing, Inc. filing for bankruptcy relief, to be

      misguided, disingenuous, and at odds with the unambiguous language of Rule 9011. Under Rule

      9011, Neusom has the responsibility to sign and file a petition after reasonable inquiry and not for

      an improper purpose or to cause unnecessary delay. By filing the Petition, Neusom certified that

      he conducted a reasonable inquiry, and the Petition was not being brought for an improper purpose

      or to cause unnecessary delay. The Court and other members of the Bar should be able to rely on

      the representations of other licensed attorneys.

             ³The purpose of the automatic stay is to give the debtor breathing room. The automatic

      stay is not to be used as an abusivHOLWLJDWLRQWDFWLF´ In re Smith, 257 B.R. 344, 351 (Bankr. N.D.

      $OD  ³7KHSHWLWLRQLV H[FOXGHGIURPWKHVDIHKDUERUSURYLVLRQ RI 5XOHEHFDXVHLWV

      ILOLQJKDVLPPHGLDWHVHULRXVFRQVHTXHQFHV´  In this case, however, the Debtor and Neusom used

      the Petition as an abusive litigation tactic. As the testimony at the 341 meeting reveals, and the

      testimonial and documentary evidence from trial indicates, Neusom filed the individual Petition

      on behalf of the Debtor, and included A Plus Lamination and Finishing, Inc. for the improper

      purpose of misleading the state court eviction counsel and the state court judge into staying the

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      Eviction Action. 1HXVRPPLVUHSUHVHQWHG'HEWRU¶VLGHQWLW\LQKHr Petition by alleging that Nubia

      Perez was doing business as A Plus Lamination and Finishing, Inc., when A Plus Lamination and

      Finishing, Inc. is actually a registered Florida corporation.

             Neusom¶V misrepresentation to Colletti [that A Plus Lamination and Finishing, Inc. was in

      bankruptcy when it was not] resulted in the cancellation of the May 15, 2018 mediation, and

      generated the entry of an Order implementing a non-existent automatic stay and withholding

      issuance of a writ of possession to which Landlord was entitled as of May 15, 2018. The timing

      of the filing of the Petition and the admissions at the 341 meeting indicate that Neusom filed the

      Nubia Perez Petition for the improper purpose of delaying the Eviction Action, which

      unnecessarily increased the cost of litigation. However, the evidence is not clear that Nubia Perez

      understood what Neusom was doing, and there was no evidence that Nubia Perez told any lie that

      FRQWULEXWHGWRWKH/DQGORUG¶VFRXQVHORUWKHVWDWHFRXUWMXGJHEHLQJPLVOHG:KLOHNeusom knew

      or should have known that filing the Petition as a delay tactic was improper, the same cannot be

      said for the Debtor.

             The Court has the inherent power to sanction bad faith conduct under 11 U.S.C. § 105. In

      re IAMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999). The bad-faith filing of a

      bankruptcy petition is sanctionable under 11 U.S.C. § 105. In re Hidalgo, 96 B.R. 389, 390 (Bankr.

      S.D. Fla. 1988). Even more serious is lying to opposing counsel in an effort to mislead him, and

      ultimately the Court. 1HXVRP¶VOLHV caused the Landlord to incur legal fees in the alleged amount

      of $40,768.33 to MRB and $2,000 to Colletti. Landlord also lost $9,256.00 in rent for the month

      A Plus Lamination and Finishing, Inc. held over possession of the Property. In total, Landlord

      claims it lost $52,024.33 because of Neusom¶V misconduct. The Court finds that not all the

      requested fees are compensable.



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             Based on the record and evidence admitted at the evidentiary hearing, the Court concludes

      that Attorney Thomas Neusom (Florida Bar number 37148) engaged in sanctionable, bad-faith

      conduct by (1) filing the Individual Chapter 11 Petition for the purpose of stopping the Eviction

      Action against a registered Florida corporation; and  PLVUHSUHVHQWLQJ'HEWRU¶VLGHQWLWy in the

      Petition to cause confusion. Neusom wrongfully obtained the benefit of the automatic stay for a

      non-debtor by misrepresenting to Lindsay and Colletti that A Plus Lamination and Finishing, Inc.

      was in bankruptcy, thereby obtaining the cancellation of the May 15, 2018 mediation and

      postponement of the issuance of the writ of possession.

             Ironically, if Neusom had filed a bankruptcy petition on behalf of the corporation, he would

      have obtained a stay without having to lie. If Neusom filed a petition on behalf of A Plus

      Lamination and Finishing, Inc., the information he provided to Lindsay and Colletti would have

      been true and he would have achieved the same results that were produced in this case by lies. The

      Court is reminded of the old U.S. 0DULQH&RUSDGDJH³QHYHUDWWULEXWHWRPDOLFHWKDWZKLFKFDQEH

      H[SODLQHGE\VWXSLGLW\´It is therefore

             ORDERED AND ADJUDGED that LDQGORUG¶V0RWLRQIRU6DQFWLRQV under Bankruptcy

      Rule 9011 and 11 U.S.C. § 105 is GRANTED IN PART as follows:

             1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in

                 legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not

                 paid within thirty (30) days, Landlord may request the entry of a final judgment for the

                 sanctions awarded herein.

             2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the

                 United States for a period of one (1) year from entry of this Order, after which Neusom

                 may apply for readmission to bankruptcy practice upon compliance with all the Local



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                  Rules of the Court governing admission to practice and completing a total of eighteen

                  (18) hours of Continuing Legal Education, consisting of twelve (12) hours of

                  Continuing Legal Education in bankruptcy law and six (6) hours of ethics.

              3. The Clerk of Court is directed to forward certified copies of this Order to The Florida

                  Bar at 651 E. Jefferson Street, Tallahassee, Florida, 32399 and to the Honorable

                  Alexander Bokor, County Court Judge, at Dade County Courthouse. 73 West Flagler

                  Street, Miami, FL 33130

                                                       ###


      Copies furnished by Clerk of Court to:

      Debtor
      Thomas Neusom, Esq.
      Utibe Ikpe, Esq.

      Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
      Certificate of Service.




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